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Attorneys for Defendant

                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

DELAWARES OF IDAHO, INC., KANSAS
DELAWARE TRIBE OF INDIANS, INC.,                   Case No. 1:83-CV-01192-BLW
ARTHUR A. CREECH and WANDA JUNE
WEEKS,                                             NOTICE OF APPEARANCE

               Plaintiffs,

       v.

WILLIAM P. CLARK, Secretary of Interior
of the United States of America,

               Defendant.


       NOTICE IS HEREBY GIVEN that Robert B. Firpo, Assistant United States Attorney for

the District of Idaho, hereby enters his appearance as counsel in this case for Defendant

Secretary of the Interior, and requests service of all further papers and pleadings herein, except

original process, upon the undersigned attorney.




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     Respectfully submitted on this 13th day of November, 2018.

                                         BART M. DAVIS
                                         United States Attorney


                                         /s/ Robert B. Firpo
                                         ROBERT B. FIRPO
                                         Assistant United States Attorney




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                                CERTIFICATE OF SERVICE


       I hereby certify that on November 13, 2018, the foregoing NOTICE OF

APPEARANCE was electronically filed with the Clerk of the Court using the CM/ECF system

which sent a Notice of Electronic Filing to the following person(s):


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                                             /s/ Danielle Haws
                                             Paralegal




NOTICE OF APPEARANCE - 3
